
Mr. Chief Justice Chase
delivered the opinion, of the court:
From time to time the court has adox&gt;ted rules of practice intended to facilitate the presentation of causes by counsel and their consideration by the court. Finding that these rules, through the inattention of the bar, had failed in a great degree of tlieir intended effect, we promulgated at the last term, and for the same end, an amended twenty-first rule, the fourth section of which required that the brief should contain, in the order there stated—
First. A concise abstract or statement presenting succinctly the questions involved, and the manner in which they were raised.
Second. An assignment of the errors relied upon, setting out, in cases brought up by writ of error, separately and specifically, each error asserted and intended to be urged, and in cases brought up by appeal, as specifically as may be, the error alleged to exist in the decree; or, if the error be alleged in a ruling upon the report of a master, stating the exception to the report and the action of the court upon it.
Third. A brief of the argument exhibiting a olear statement of the points of law or fact to be discussed, with reference to the pages of the record and authorities relied upon in support of each point, and containing, when a statute of a State is cited, so much thereof as may be deemed necessary to the decision of the case, printed at length.
The fifth section of the rule also required that when the error allowed is to the charge of the court, the specification shall set out the part referred to totidem, verbis, whether it be instructions given or instructions refused.
And the sixth section required that when the error alleged is to the admission or rejection of evidence, the specification shall quote the full substance of the evidence admitted or rejected.
The necessity of strict compliance with these rules, especially in view of the greatly augmented business of the court, is evident. It will facilitate as much the labors of the bar as those of the bench. That counsel might have full notice of the rule, it was required to take effect on the first day of the present month of January, and the clerk was directed to have printed copies made of the rule as amended, and send one copy to each of the counsel in all cases pending and not yet argued. In the *114case before us, this rule has been totally disregarded on the part of the appellant.
We shall, therefore, in this case dismiss the appeal.
